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 5
                         UNITED STATES DISTRICT COURT
 6
                       CENTRAL DISTRICT OF CALIFORNIA
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 8   UNIVERSAL DYEING & PRINTING,                   Case No.: 2:19-cv-09235-MWF-KES
 9
     INC.,                                          Hon. Michael W. Fitzgerald Presiding

10                             Plaintiff,           ORDER ON STIPULATION TO
11                                                  DISMISS ACTION WITH
           v.                                       PREJUDICE
12

13   APOLLO APPAREL NY, LLC, et al.,

14                             Defendants.
15

16        FOR GOOD CAUSE APPEARING, THE FOLLOWING IS HEREBY
17   ORDERED:
18
          1.    The action is dismissed with prejudice; and
19
          2.    The parties will each bear their respective costs and attorneys’ fees as
20
                incurred against one another in connection with this action.
21
          IT IS SO ORDERED.
22

23

24   Dated: October 20, 2020                 ________________________________
                                             MICHAEL W. FITZGERALD
25
                                             UNITED STATES DISTRICT JUDGE
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                           ORDER ON STIPULATION TO DISMISS ACTION
